       Case 2:94-cr-00040-JEG Document 1 Filed 07/08/94 Page 1 of 2
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                                                            6 U.:        DIV
                UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF GEORGIA           JUL   a 419 li1'34
                        BRUNSWICK DIVISION
                                                                DiS1A.

UNITED STATES OF AMERICA                     INFORMATION No.0     R29'
           V.                                VIO: 18 U.S.C. 7
                                                   18 U.S.C. 13
   TYRONE D. SALAZAR                               O.C.G.A.
                                                        40-6-391(a)(1)
                                                        40-6-391 (a) (4)
                                                   DUI on a Military
                                                   Reservation
THE UNITED STATES ATTORNEY CHARGES:
     That on or about the 17th day of June 1994, at Naval
Submarine Base, Kings Bay, on lands acquired for the use of the
United States and within the special maritime and territorial
jurisdiction thereof, in Camden County, Georgia and located
within the Southern District of Georgia, Tyrone D. Salazar was
unlawfully driving and was in actual physical control of a moving
vehicle while under the influence of alcohol to the extent that
it was less safe for him to drive, such act done in violation of
Title 18, United States Code, Sections 7 and 13 and the Official
Code of Georgia Annotated, Section 40-6-391(a) (1).
THE UNITED STATES ATTORNEY FURTHER CHARGES:
     That on or about the 17th day of June 1994, at Naval
Submarine Base, Kings Bay, on lands acquired for the use of the
United States and within the special maritime and territorial
jurisdiction thereof, in Camden County, Georgia, and located
within the Southern District of Georgia, Tyrone D. Salazar was
unlawfully driving or in actual physical control of a moving
vehicle while his alcohol concentration was in excess of .08




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grams, said alcohol concentration being .18 grams by weight,

being caused by the consumption of alcohol before such driving
and actual physical control ended, and occurring within three (3)

hours after such driving and being in actual physical control of

an automobile, such act done in violation of Title 18, United

States Code, Sections 7 and 13 and the Official Code of Georgia

Annotated, Section 40-6-391-(a) (4).
                                    Respectfully submitted,


                                    HARRY D. DIXON, JR.
                                    United States Attorne



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                                    Sp ci TKAis4JR.
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                                    United States A torney




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